
Appeal by the defendant from an amended judgment of the County Court, *1035Westchester County (R. Bellantoni, J.), rendered January 3, 2008, revoking a sentence of probation previously imposed by the same court (DiBella, J.), upon a finding that he violated a condition thereof, upon his admission, and imposing a sentence of imprisonment upon his previous conviction of sexual abuse in the first degree.
Ordered that the amended judgment is affirmed.
We have reviewed the record and agree with the defendant’s assigned counsel that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]). Skelos, J.P., Santucci, Angiolillo, Hall and Roman, JJ., concur.
